Case 8:89-cr-00004-MSS-TGW Document 1045 Filed 01/07/13 Page 1 of 1 PageID 1664


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


  UNITED STATES OF AMERICA,

  vs.                                                    CASE NO. 8:89-CR-4-T-EAK-TGW


  PRESTON LAMAR WILLIAMS
                                             /
                                                 ORDER

         This cause comes before the Court on the defendant’s motion for modification of
  sentence, the requested modification was based on the retroactive application of revised cocaine
  base sentencing guidelines (Docket No. 1023). The Court appointed counsel in this case and
  required responses from the United States Probation Office, the government, and the defendant
  through his appointed counsel. The Court has received and reviewed the responses (Docket No.
  1028 and 1039 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
  Assessment). The government and probation concur that the defendant is not eligible for a
  reduction in sentence based on the amended guidelines. The defendant otherwise argues. The
  Court agrees with the position of the government and the probation office. Accordingly, it is.
         ORDERED that defendant’s motion for modification of sentence, the requested
  modification was based on the retroactive application of revised cocaine base sentencing
  guidelines (Docket No. 1023) be denied.


         DONE AND ORDERED in Chambers in Tampa, Florida this 7th day of January, 2013.




  Copies furnished to: All Counsel of Record
